Russell D. Garrett, OSB #882111
russell.garrett@jordanramis.com
Daniel L. Steinberg, OSB #993690
daniel.steinberg@jordanramis.com
JORDAN RAMIS PC
Two Centerpointe Dr., 6th Floor
Lake Oswego, Oregon 97035
Telephone: (503) 598-7070
Facsimile: (503) 598-7373

Attorneys for Creditors and Interested Parties
Lillian Logan, Cornell Rd LLC, Christiana
LLC, and Alexander LLC



                          UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF OREGON

In re                                                Bankruptcy Case Nos.:

15005 NW Cornell LLC; and                            19-31883-dwh11 (Lead Case)
Vahan M. Dinihanian, Jr.,                            19-31886-dwh11
               Debtors.                              Jointly Administered Under
                                                     Case No. 19-31883-dwh11

                                                     Adversary Proceeding
                                                     Case No.'s: 19-03096-dwh; 20-03077-dwh;
                                                     20-03079-dwh



                                                     CREDITORS AND INTERESTED
                                                     PARTIES LILLIAN LOGAN, CORNELL
                                                     RD LLC, CHRISTIANA LLC, AND
                                                     ALEXANDER LLC’S WITNESS LIST


        Creditors and Interested Parties Lillian Logan, Cornell Rd LLC, Christiana LLC, and

Alexander LLC (collectively “Logans”), by and through their attorneys, Jordan Ramis PC,

submits the following witness list they intend to call at hearing in this matter set for September

21, 2021:
Page 1 – LOGANS' WITNESS LIST                                                  JORDAN RAMIS PC
                                                                                 Attorneys at Law
                                                                         Two Centerpointe Dr., 6th Floor
                                                                          Lake Oswego, Oregon 97035
                                                                  Telephone: (503) 598-7070 Fax: (503) 598-7373

                                                                                       53110-77700 4813-5774-7195.1

                     Case 19-31883-dwh11          Doc 429     Filed 09/20/21
       1.      Name:           Sorfi, LLC, Person Most Knowledgeable
                               Appearing pursuant to subpoena
               Address:        9 SE 3rd Ave, Ste 100
                               Portland, OR 97214

               Phone:          unknown
               Email:          unknown

       The person most knowledgeable at Sorfi, LLC may testify regarding Sorfi and Sortis

Capital’s relationship and loans with debtors.

       2.      Name: Vahan Dinihanian Jr.
               Address: c/o Nicholas J. Henderson
                     Motschenbacher & Blattner, LLP
                     117 SW Taylor Street, Suite 300
                     Portland, OR 97204
                     Tel: (503) 417-0500
                     Email: nhenderson@portlaw.com

Will be called to testify regarding inconsistent statements and omitted assets and liabilities.


       3.      Name: Lillian Logan
               Address: c/o Russell Garrett Esq.
                     2 Centerpointe Dr.
                     Suite 600
                     Lake Oswego, OR 97035

               Phone:          (503)598-7070
               Email:          russell.garrett@jordanramis.com

       Logans reserve the right to call rebuttal witnesses.




Page 2 – LOGANS' WITNESS LIST                                                  JORDAN RAMIS PC
                                                                                 Attorneys at Law
                                                                         Two Centerpointe Dr., 6th Floor
                                                                          Lake Oswego, Oregon 97035
                                                                  Telephone: (503) 598-7070 Fax: (503) 598-7373

                                                                                       53110-77700 4813-5774-7195.1

                     Case 19-31883-dwh11           Doc 429     Filed 09/20/21
     Dated this 20th day of September 2021.

                                       JORDAN RAMIS PC



                                       By: /s/Daniel L. Steinberg
                                           Russell D. Garrett, OSB #882111
                                           Daniel L. Steinberg, OSB #993690
                                           Attorneys for Creditors and Interested Parties
                                           Lillian Logan, Cornell Rd LLC, Christiana LLC,
                                           and Alexander LLC




Page 3 – LOGANS' WITNESS LIST                                          JORDAN RAMIS PC
                                                                         Attorneys at Law
                                                                 Two Centerpointe Dr., 6th Floor
                                                                  Lake Oswego, Oregon 97035
                                                          Telephone: (503) 598-7070 Fax: (503) 598-7373

                                                                               53110-77700 4813-5774-7195.1

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I served a true and correct copy of the
foregoing LOGANS' WITNESS LIST on:

VIA ECF:

Nicholas J. Henderson                            Douglas R. Pahl
Motschenbacher & Blattner, LLP                   Perkins Coie LLP
117 SW Taylor Street, Suite 300                  1120 NW Couch Street, 10th Floor
Portland, OR 97204                               Portland, OR 97209-4128
Tel: (503) 417-0500                              Tel: (503) 727-2000
Email: nhenderson@portlaw.com                    Email: dpahl@perkinscoie.com
        Attorneys for Debtor and Debtor-in-              Attorneys for Debtor and Debtor-in-
        Possession Vahan M. Dinihanian, Jr.              Possession 15005 NW Cornell LLC

U.S. Trustee                                     Stephen P Arnot
US Trustee, Portland                             DOJ-UST
620 SW Main Street, #213                         620 SW Main Street, Suite 213
Portland, OR 97205                               Portland, OR 97205
Tel: (503) 326-4000                              Tel: (503) 326-4004
                                                 Email: steve.arnot@usdoj.gov
                                                         Attorney for U.S. Trustee

Eleanor A. DuBay
Tomasi Salyer Martin
121 SW Morrison Street, Suite 1850
Portland, OR 97204
       Attorneys for Interested Party Tasha L.
       Teherani-Ami

       DATED this 20th day of September, 2021.

                                           JORDAN RAMIS PC

                                           By: /s/ Daniel L. Steinberg
                                                Russell D. Garrett, OSB #882111
                                                Daniel L. Steinberg, OSB #993690
                                                Attorneys for Lillian Logan, Cornell Rd LLC,
                                                Christiana LLC, and Alexander LLC




Page 4 – LOGANS' WITNESS LIST                                                JORDAN RAMIS PC
                                                                               Attorneys at Law
                                                                       Two Centerpointe Dr., 6th Floor
                                                                        Lake Oswego, Oregon 97035
                                                                Telephone: (503) 598-7070 Fax: (503) 598-7373

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